     Case 2:16-cr-20032-JAR                Document 746-2              Filed 03/21/19   Page 1 of 2



From:            Slinkard, Duston (USAKS)
To:              Steeby, David (USAKS); Hooker, Tessa (USAKS)
Cc:              Miller, Randy (USAKS) 3; Clymer, Steven D. (USANYN)
Subject:         FW: Order to Preserve Evidence
Date:            Wednesday, August 15, 2018 2:31:00 PM
Attachments:     569-Order to Preserve Evidence.pdf


David & Tessa,

Please note the order’s direction that we notify “any DOJ entity responsible for the maintenance and
security of this information.” We understand this to mean, for example, insuring that no currently
archived e-mails age out, no currently preserved data is subject to routine purging, etc. I’m sure you
have a much better idea than I do of who at DOJ needs to know about this, but please think about
that an act as soon as possible to make them aware of the court’s order.

Thank you,
Duston J. Slinkard, AUSA
U.S. Attorney’s Office - Kansas
444 SE Quincy, Suite 290
Topeka, KS 66683
Voice: (785) 295-7690
Fax: (785) 295-2853

From: Slinkard, Duston (USAKS)
Sent: Wednesday, August 15, 2018 2:27 PM
To: USAKS-ALL <USAKS-ALL@usa.doj.gov>
Cc: Clymer, Steven D. (USANYN) <SClymer@usa.doj.gov>
Subject: Order to Preserve Evidence

The Court just entered its motion to preserve evidence in the Black / Carter case. Everyone receiving
this message should review this order because it is very broad and not limited in either time or to
any particular case or matter. It directs:

        The United States Department of Justice and USAO is ordered to preserve:
        (1) any recording of telephone calls made to or received by a person while they were
        detained in federal custody in the District of Kansas, and that was requested or obtained by
        the United States Attorney’s Office for the District of Kansas (USAO) or its agents, and (2) any
        information related to these recordings, the content, or their procurement, including law
        enforcement agency reports, subpoenas, written requests, emails, or other documents
        containing a reference to the request, acquisition, review, or disposal of such recordings.

Further, it specifically orders the United States Department of Justice “to immediately notify every
employee and agent of the contents of this order, including IT employees, the United States
Marshal’s Service, clerical staff, and any DOJ entity responsible for the maintenance and security of
this information.”

All previous litigation holds of which you have been informed remain in effect; however, at this time,
     Case 2:16-cr-20032-JAR           Document 746-2          Filed 03/21/19      Page 2 of 2



based on this order, everyone should review the attached order and immediately take any steps
necessary to preserve any responsive material currently in his or her possession. We will separately
take care of notifying investigative agencies, including the United States Marshals Service.

Thank you,
Duston J. Slinkard, AUSA
U.S. Attorney’s Office - Kansas
444 SE Quincy, Suite 290
Topeka, KS 66683
Voice: (785) 295-7690
Fax: (785) 295-2853
